                              Case 3:18-cv-00705-VLB Document 39 Filed 03/12/19 Page 1 of 1
                                                                                                                         Civil- (Dec-2008)
                                                                HONORABLE:            V. Bryant
                                     DEPUTY CLERK J. Shafer                   RPTR/ECRO/TAPE F. Velez, ECRO
         TOTAL TIME:           0      hours 12   minutes
                                        DATE:  03/12/2019     START TIME: 09:33 AM       END TIME: 09:45 AM
                                                           LUNCH RECESS         FROM:             TO:
                                                   RECESS (if more than ½ hr)   FROM:             TO:

         CIVIL NO. 3:18-cv-01708-VLB


                     Connecticut Fair Housing Ctr, et al.                                  E. Dunn, S. Kazerounian, & S. White
                                                                                                    Plaintiff’s Counsel
                                        vs
                     CoreLogic Rental Property Solutions                                   T. St. George & D. Cohen
                                                                                                    Defendant’s Counsel

                                                  COURTROOM MINUTES- CIVIL

                               Motion hearing                            Show Cause Hearing
                              Evidentiary Hearing                        Judgment Debtor Exam
                            ✔ Discovery status teleconference


            .....#          Motion                                                            granted       denied       advisement
            .....#          Motion                                                            granted        denied       advisement
            .....#          Motion                                                            granted       denied        advisement
            .....#          Motion                                                            granted        denied       advisement
            .....#          Motion                                                            granted       denied        advisement
            .....#          Motion                                                            granted       denied       advisement
            .....#          Motion                                                            granted       denied       advisement
            .....           Oral Motion                                                       granted       denied       advisement
            .....           Oral Motion                                                       granted        denied       advisement
            .....           Oral Motion                                                       granted       denied        advisement
           .....            Oral Motion                                                       granted       denied        advisement
            .....              Briefs(s) due                   Proposed Findings due                    Response due
           .............                                                                                         filed    docketed
           .............                                                                                         filed    docketed
           .............                                                                                         filed    docketed
           .............                                                                                         filed    docketed
            .............                                                                                        filed    docketed
            .............                                                                                        filed    docketed
            ............                          Hearing continued until                                   at

Notes:   The parties have exchanged written discovery and will be referred to Magistrate Judge Robert A. Richardson for a settlement
         conference.
